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 7                                 UNITED STATES DISTRICT COURT
 8                               SOUTHERN DISTRICT OF CALIFORNIA
 9                             (HONORABLE BARRY TED MOSKOWITZ)
10

11

12 UNITED STATES OF AMERICA,                       )     Case No. 08cr2288-BTM
                                                   )
13                Plaintiff,                       )
                                                   )
14 v.                                              )     ORDER RESCHEDULING             DATE     OF
                                                   )     THE SENTENCING HEARING
15                                                 )
                                                   )
16 PHINATH KHVANN, (11)                            )
                                                   )
17                Defendant.                       )
                                                   )
18

19                GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the sentencing hearing set
20 for February 5, 2010, at 2:00 p.m. be rescheduled to March 5, 2010, at 11:30 a.m.

21                SO ORDERED.
22 DATED: January 25, 2010

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24                                                 Honorable Barry Ted Moskowitz
                                                   United States District Judge
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